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2:20-cv-01907-AB-RAO Document 52 Filed 11/15/21 Pageilof1 Page ID #:284

JS-6
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
WESTERN DIVISION
SUSAN TELLEM, an individual,
Plaintiff, Civil Action No. 2:20-—cv—01907 AB
(RAOx)
VS.
ORDER OF DISMISSAL WITH
SELECT PORTFOLIO PREJUDICE
SERVICING, INC. AND TRANS
UNION, LLC,
Defendants.

 

Pending before the Court is the Joint Stipulation of Dismissal as to Defendants
Select Portfolio Servicing, Inc. and Trans Union, LLC, With Prejudice (Dkt._ 51),
filed by Plaintiff Susan Tellem (‘Plaintiff’) and Defendants Select Portfolio
Servicing, Inc. and Trans Union, LLC.

Accordingly, it is hereby ORDERED, ADJUDGED, AND DECREED that
Plaintiff's claims against Defendants Select Portfolio Servicing, Inc. and Trans
Union, LLC are hereby DISMISSED WITH PREJUDICE, each party to bear their

own attorneys’ fees and costs.

IT IS SO ORDERED.

  
  

Dated: November 15 , 2021

 

 

TED STATES DISTRICT JUDGE

 

 

 
